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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA                :
                                                    ORDER
           - against -                  :
                                                    04 Cr. 1060(DC)
CHRISTOPHER WHEELER,                    :

                       Defendant.       :

- - - - - - - - - - - - - - - - - -x



CHIN, Circuit Judge:

           By letter dated July 19, 2020, defendant Christopher

Wheeler moves for compassionate release pursuant to 18 U.S.C. §

3582(c)(1)(A)(i).     The government opposes the motion.

           In the absence of a compassionate release motion by

the Director of the Bureau of Prisons, a court may not modify a

defendant's term of imprisonment unless: (i) the defendant has

exhausted available administrative remedies to appeal a failure

of the Bureau of Prisons ("BOP") to bring a motion on the

defendant's behalf or (ii) 30 days have passed from the receipt

of such a from the defendant request by the warden of the

defendant's facility.     18 U.S.C. § 3582(c)(1)(A).

           Wheeler asserts that he filed a request for

compassionate release with the warden of USP Atwater on May 18,

2020.   D. Ct. Dkt. No. 17.     The Government disputes this, noting

that BOP advises that USP Atwater has not received a
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compassionate release request from Wheeler.           D. Ct. Dkt. No. 20.

The government argues that therefore, Wheeler failed to exhaust

his administrative remedies as statutorily required. Id.

Without deciding the exhaustion issue, I deny the motion on its

merits.

             In the event that the procedural requirements above

have been met, a district court may reduce a defendant's term of

imprisonment where it finds "extraordinary and compelling

reasons warrant such a reduction."          18 U.S.C. §

3582(c)(1)(A)(i).       The Second Circuit has held that the First

Step Act of 2018 "allows [district] courts independently to

determine what reasons, for purposes of compassionate release,

are extraordinary and compelling" and that the BOP Director is

no longer the sole arbiter in determining whether the threshold

is met.     See United States v. Brooker (Zullo), No. 19-3218, 2020

WL 5739712, at *5 (2d Cir. Sept. 25, 2020).

             Wheeler argues that the delay in his transfer to a

medium-security facility due to the pandemic and "nationwide

riot and protests" is an extraordinary and compelling reason for

reducing his sentence and granting him an immediate release.              D.

Ct. Dkt. No. 17;      His argument is unavailing.

             I appreciate that the current situation has led to

frustrating and difficult delays in the prison system.             I am
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also sensitive to the "grave and enduring" challenges stemming

from the pandemic, which has forced the BOP to operate under

modified procedures and processes to maintain the safety of the

BOP's inmate population and staff.         See Federal Defenders of New

York, Inc. v. Federal Bureau of Prisons, 954 F.3d 118, 135 (2d

Cir. 2020).

            In this context, Wheeler's complaint about delays in

prison transfers, lacking any specific references to personal

health concerns linked to the current pandemic, is not an

extraordinary and compelling reason that warrants a reduction of

his sentence.     Wheeler's general references to "nationwide riot

and protests" is similarly unavailing.

            Accordingly, Wheeler's motion is DENIED.

            SO ORDERED.

Dated:      New York, New York
            October 20, 2020


                                         _s/Denny Chin________________
                                         DENNY CHIN
                                         United States Circuit Judge
                                         Sitting By Designation
